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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                        DECISION AND ORDER
                                                                     00-CR-199S-19

JULIO NUNEZ,

                     Defendant.



       1.     Presently before this Court is Defendant Julio Nunez’s Motion to Dismiss the

Superseding Indictment, which includes his renewed argument that the charges are barred

by the Double Jeopardy Clause and his repeated request for dismissal pursuant to Rule

48(b) of the Federal Rules of Criminal Procedure. (Docket No. 792.) In the alternative,

Nunez seeks a risk assessment. (Docket No. 802.) For the following reasons, Nunez’s

motion is denied.

       2.     On March 14, 2001, Nunez was charged, along with 18 co-defendants, with

a broad range of narcotics offenses in a 46-count Superseding Indictment. Specifically,

Count 1 charges Nunez with conspiracy to possess with intent to distribute and to distribute

cocaine and cocaine base; Counts 2 and 3 charge him with substantive possession with

intent to distribute cocaine; and Counts 10, 13, 14, and 17 charge him with using a

communication device to facilitate the drug trafficking charged in Counts 1, 2, and 3; all in

violation of Title 21 United States Code Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B),

843(b), and 846 and Title 18 United States Code Section 2. (Docket No. 69.)




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        3.        On July 27, 2000, before the return of the Superseding Indictment (the

“Western District Indictment”), Nunez was indicted in the Southern District of New York1

and charged with various narcotics offenses (the “Southern District Indictment”). On

January 23, 2003, Nunez appeared before the Honorable Richard Conway Casey, United

States District Court Judge, and pleaded guilty to Count 1 of the Southern District

Indictment, which charged Nunez in a narcotics conspiracy.

        Thereafter, Judge Casey ordered that Nunez undergo a psychiatric evaluation

pursuant to 18 U.S.C. § 4244, which reflected that Nunez exhibited “Major Depressive

Disorder with psychotic features,” a mental disease under the law. (Docket No 573.)

Nunez was transferred to Butner Federal Medical Facility in North Carolina (“Butner”). (Id.)

        On July 19, 2005, Judge Casey issued an order acknowledging the parties’

agreement that Nunez was suffering from a mental disease or defect and, further,

committing Nunez to the custody of the Attorney General pursuant to 18 U.S.C. § 42442

for a term of life—life being the maximum term authorized by law for the offense for which

Nunez was found guilty, see 21 U.S.C. § 841(b)(1)—with this provisional sentence to be



        1
            That case is docketed in the Southern District of New York as case num ber 00-CR-121(RCC).

        2
           Title 18, United States Code, Section 4244 governs the hospitalization of a convicted person
suffering from m ental disease or defect, and provides:

        If, after the hearing, the court finds by a preponderance of the evidence that the defendant
        is presently suffering from a m ental disease or defect and that he should, in lieu of being
        sentenced to im prisonm ent, be com m itted to a suitable facility for care or treatm ent, the
        court shall com m it the defendant to the custody of the Attorney General. The Attorney
        General shall hospitalize the defendant for care or treatm ent in a suitable facility. Such a
        com m itm ent constitutes a provisional sentence of im prisonm ent to the m axim um term
        authorized by law for the offense for which the defendant was found guilty.

18 U.S.C. § 4244(d).



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lifted and a final sentence imposed if Nunez recovered from his mental disease. (Id.)

Meanwhile, this Court adjourned trial on the Western District Indictment while awaiting any

progress in Nunez’s restoration to competency.

       4.     In light of the delay in bringing the instant case to trial, Nunez previously

moved to dismiss the Western District Indictment pursuant to Rule 48(b) of the Federal

Rules of Criminal Procedure. On July 17, 2006, this Court denied his motion, finding that

the trial delay resulted from Nunez’s prolonged mental incompetency and, further, that the

delay did not violate Nunez’s right to a speedy trial. (Docket No. 679.) At that time,

however, this Court noted that, “the Government may reasonably conclude that dismissal

of these charges may be warranted if it is confirmed that Mr. Nunez is unlikely to be

restored to competency.” (Id.)

       On September 8, 2009, the Government acknowledged that Nunez’s most recent

evaluation at Butner reflected his continuing incompetence, but reaffirmed its objection to

dismissal of the pending charges of the Western District Indictment. (Docket No. 781.)

Because Nunez’s Southern District counsel is “seeking to have the charges in the Southern

District against [Nunez] dropped so that [Nunez] can be deported to the Dominican

Republic,” the Government advised that it “cannot rely on the continued viability of the

Southern District [] prosecution to redress the defendant’s criminal liability.” (Id.)

       5.     In the instant motion, Nunez first moves to dismiss the Western District

Indictment on double jeopardy grounds, arguing that this prosecution would impose




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multiple punishments for the same offenses.3 (Docket No. 792, ¶ 5.) Nunez contends that

the activities encompassed by his conviction on Count 1 of the Southern District Indictment

“involve the same conduct, facts, and law alleged in the WDNY indictment.” (Id. at ¶ 6.)

        6.      In its response, the Government argues that, here, the substantive offenses

charged in the Western District Indictment are not subject to dismissal on double jeopardy

grounds because Nunez has been convicted only of a conspiracy charge, and, further, that

Nunez has failed to make the prima facie showing necessary to establish a non-frivolous

double jeopardy claim for the successive conspiracy charge. (Docket Nos. 351, 797.)

Moreover, on the merits, the Government contends that the Double Jeopardy Clause is not

violated because the two conspiracy offenses are distinct. (Docket No. 351.)

        7.      Embodying protection against double jeopardy, the Fifth Amendment

provides that never “shall any person be subject for the same offense to be twice put in

jeopardy of life or limb.” U.S. CONST . amend. V. “Under this Clause, once a defendant is

placed in jeopardy for an offense, and jeopardy terminates with respect to that offense, the

defendant may neither be tried nor punished a second time for the same offense.” United

States v. Estrada, 320 F.3d 173, 180 (2d Cir. 2003) (citation omitted). “A double jeopardy

claim cannot succeed unless the charged offenses are the same in fact and in law.” Id.

        To determine whether two offenses are the same for double jeopardy purposes,

courts ordinarily apply the “same elements” test described in Blockburger v. United States.

284 U.S. 299, 52 S. Ct. 180, 76 L. Ed. 306 (1932). The inquiry is “whether each offense



        3
           Nunez previously m oved to dism iss on this basis (Docket No. 347, ¶ 6) and this Court deferred
in ruling on the m otion due to the then-pending results of Nunez’s m ental exam ination as well as his
counsel’s request (Minutes Entries, May 26, 2004, and June 29, 2004).

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contains an element not contained in the other,” United States v. Dixon, 509 U.S. 688, 696,

113 S. Ct. 2849, 2856, 125 L. Ed. 2d 556 (1993); if so, the offenses are distinct and there

is no double jeopardy bar. Thus, the Supreme Court has noted that “a substantive crime

and a conspiracy to commit that crime are not the ‘same offense’ for double jeopardy

purposes.” United States v. Felix, 503 U.S. 378, 389, 112 S. Ct. 1377, 1384, 118 L. Ed.

2d 25 (1992); United States v. Gambino, 968 F.2d 227, 231 (2d Cir. 1992).

       Where a double jeopardy claim is based on successive conspiracy charges,

however, courts in this Circuit follow the fact-intensive analysis articulated in United States

v. Korfant. 771 F.2d 660, 662 (2d Cir. 1985). In this burden-shifting analysis, a defendant

bears the initial burden of making “a non-frivolous showing that the two indictments in fact

charge only one conspiracy,” whereupon the burden shifts to the prosecution to show, by

a preponderance of the evidence, that the two conspiracies are distinct. United States v.

Lopez, 356 F.3d 463, 467 (2d Cir. 2004). The Second Circuit has identified eight factors

to be considered in determining whether there are two distinct conspiracies, including:

       (1) the criminal offenses charged in successive indictments; (2) the overlap
       of participants; (3) the overlap of time; (4) similarity of operation; (5) the
       existence of common overt acts; (6) the geographic scope of the alleged
       conspiracies or location where overt acts occurred; (7) common objectives;
       and (8) the degree of interdependence between alleged distinct conspiracies.

Korfant, 771 F.2d at 662. This analysis is to be conducted in light of the “totality of the

circumstances” presented. Id.

       8.     Here, the narcotics conspiracy charge to which Nunez pleaded guilty in the

Southern District Indictment and the substantive possession with intent to distribute

offenses and telephone counts charged in the Western District Indictment each contain “an

element not contained in the other.” Dixon, 509 U.S. at 696. Further, it is well settled that

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substantive drug offenses and a conspiracy to commit those offenses are distinct offenses

for double jeopardy purposes. See Felix, 503 U.S. at 389. Because these Western District

charges are not the same in law as the Southern District charge, Estrada, 320 F.3d at 180,

the Double Jeopardy Clause does not bar Nunez’s prosecution on the substantive drug

and telephone offenses contained in Counts 2, 3, 10, 13, 14, and 17 of the Western District

Indictment and his motion to dismiss these counts is therefore denied.

       9.     Both Count 1 of the Western District Indictment and the count to which Nunez

pleaded guilty in the Southern District Indictment charge narcotics conspiracy offenses.

       Count 1 of the Southern District Indictment charges that from at least July 1999

through February 2, 2000, in the Southern District of New York and elsewhere, 19

defendants, including Nunez, participated in a conspiracy to possess with intent to

distribute and to distribute 50 grams or more of cocaine base and 5 kilograms or more of

cocaine, in violation of 21 U.S.C. § 846. Nunez is named in 13 overt acts listed in Count

1, which refer to specific narcotics transactions, conversations, and meetings between

Nunez and other co-conspirators.

       Count 1 of the Western District Indictment charges that between about January 1,

1994, and January 3, 2000, in the Western District of New York and elsewhere, 19

defendants, including Nunez, participated in a conspiracy to possess with intent to

distribute and to distribute 50 grams or more of cocaine base and 5 kilograms or more of

cocaine, in violation of 21 U.S.C. § 846.

       Although the two indictments comprise the only support offered for Nunez’s double

jeopardy claim, (Docket No. 347, ¶ 6), similarities between the two conspiracy counts exist

on the face of the indictments: both involve violations of 21 U.S.C. § 846; the time frame

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of the Southern District Indictment is almost entirely contained within the time frame of the

Western District Indictment; and both involve the same types of narcotics in similar

quantities. Accordingly, this Court finds that Nunez has made a sufficient showing of

similarities between the two charges to establish a prima facie, non-frivolous double

jeopardy claim, thereby shifting the burden to the Government to show that these are

distinct conspiracies. See Lopez, 356 F.3d at 467.

         Evaluation of successive conspiracy charges in the indictments requires

consideration of the Korfant factors. 771 F.2d at 662. Here, while both conspiracy charges

involve the same statutory offense and some overlap of time and general objectives, these

similarities are outweighed by several critical distinctions between the charges. Estrada,

320 F.3d at 182 (“such overlapping by no means negates the substantial dissimilarities that

render the two offenses distinct”).

       To begin, that Nunez is charged in both indictments with violating 21 U.S.C. § 846

is a similarity at such a “general level [that it is] of limited import” in determining whether

only one conspiracy is charged. Macchia, 35 F.3d 662, 669 (2d Cir. 1994); see also United

States v. Basciano, 599 F.3d 184, 198 n.11 (2d Cir. 2010) (explaining that the very purpose

of the Korfant analysis is to determine “whether successive conspiracy charges brought

under the same statute were the same for double jeopardy purposes”).

       Next, of the 19 co-defendants charged in each of the two indictments, Nunez is the

sole overlapping participant named in both conspiracies. Nunez played a different role in

each alleged conspiracy: although he held a leadership position in the acquisition and

distribution of cocaine in the Southern District conspiracy, he allegedly served only as a

source of narcotics for other distributors in the Western District conspiracy. Moreover, it

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appears that those associated with Nunez in the narcotics distribution conspiracy of the

Southern District were “entirely distinct” from those associated with Nunez in the broad

range of operations charged in the Western District conspiracy. Estrada, 320 F.3d at 182.

       The overlap in time between the two conspiracy charges also provides little support

for Nunez’s claim. The Southern District Indictment charged a seven-month conspiracy,

while the Western District Indictment charges a six-year conspiracy, and the shorter

conspiracy is almost entirely contained within the time frame of the longer conspiracy.

Here, however, Nunez’s successive charges do not “implicat[e] the disapproved process

whereby the Government charges smaller and smaller conspiracies . . . until it finds one

small enough to be proved to the satisfaction of a jury.” Estrada, 320 F.3d at 182–83

(internal quotations omitted). Rather, Nunez was charged first with the shorter conspiracy

of the Southern District Indictment. When this occurs, “there is not the same opportunity

for prosecutorial abuse, and the overlap of time is therefore a less important

consideration.” Macchia, 35 F. 3d at 669.

       Likewise, although the quantity and type of narcotics involved in both conspiracy

charges are nearly identical, review of the indictments and pretrial filings reveals that the

similarities between the modes of operation in the two conspiracies amount to little more

than the general assessment that, in each, individuals obtained cocaine in exchange for

money and then distributed the drugs to others. In the Southern District conspiracy, Nunez

maintained a stash house in the Bronx to manufacture and distribute narcotics while

directing distribution of the drugs between the Bronx and Manhattan. In contrast, Nunez

is named as a supplier of cocaine in the Western District conspiracy, in a scheme that

involved drugs obtained in New York City and Rochester for distribution in Buffalo and

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Niagara Falls. Although Nunez argues that both charges encompass the same conduct,

significant differences exist between the nature of the conspiracies and the individuals

involved in each enterprise, indicating that the conspiracies are separate.

       It appears that no common overt acts are shared by the two conspiracies. The 13

overt acts in which Nunez is named in the Southern District Indictment charge Nunez’s

drug distribution in New York City and his narcotics- and firearms-related telephone

communications in the Bronx. No overlapping conduct is evident in the substantive counts

that form part of the proof for the conspiracy in the Western District Indictment.

       Little geographic overlap exists between the two narcotics conspiracies; as noted,

the Southern District charge involved drug distribution in New York City with overt acts

occurring in the Bronx and Manhattan, while the Western District charge involves

distribution in Buffalo and Niagara Falls of drugs obtained from suppliers in New York City

and Rochester. Although both indictments include New York City within the geographic

scope of the alleged conspiracies, the respective underlying criminal objectives of the

conduct that took place in that locale are distinct.

       It is not instructive that both conspiracies share the general objective of distributing

narcotics for profit, otherwise “every conspiracy to distribute heroin (or cocaine, or anything

else) would share a common objective for double jeopardy purposes.” Macchia, 35 F.3d

at 671. Rather, the specific objective of the Western District conspiracy was to engage in

a broad range of drug distribution activity in the Niagara Falls area, while the Southern

District conspiracy centered on specific activity in New York City. There is no evidence that

the 18 other co-conspirators in the Southern District charge were aware of Nunez’s

transactions to supply narcotics for distribution in Niagara Falls, nor that Nunez’s 18 distinct

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co-conspirators in the Western District charge shared his goal in the Southern District

conspiracy of distributing narcotics in the Bronx. Thus, it appears that the agreements of

these two groups of co-conspirators differed, and “multiple agreements to commit separate

crimes constitute multiple conspiracies.” Estrada, 320 F.3d at 184 (citation omitted).

       Finally, there existed no interdependence between the two conspiracies, as the

success or failure of one conspiracy had no effect on the other. See Macchia, 35 F.3d at

671. The Government points to a specific instance of disconnect between the two

conspiracies, noting that although the conspiracy charged in the Western District

Indictment suffered a seizure of 1.5 kilograms of cocaine in July 1999—which fell within

the six-month overlap of time between the two conspiracies—this setback had no effect

on the cocaine conspiracy of the Southern District Indictment. Indeed, the agreement

among Nunez and his Southern District co-conspirators was “complete in and of itself” and

independent of the Western District conspiracy that “existed long before” the conspiracy

in the Southern District. Estrada, 320 F.3d at 184. Nor was Nunez’s participation in one

conspiracy dependent on his participation in the other. See id. Nunez could certainly hold

a leadership role in the drug distribution activity of the Southern District conspiracy with or

without participating in a distinct conspiracy in which he served, from New York City, as a

source of cocaine supply for distribution in Niagara Falls.

       Upon evaluating the totality of the facts presented “with the lively awareness that no

dominant factor or single touchstone” controls the analysis, this Court finds that the

Government has shown, by a preponderance of the evidence, that the successive

conspiracies charged in the Southern and Western District Indictments are distinct.

Macchia, 35 F.3d at 668. Accordingly, the Double Jeopardy Clause does not bar Nunez’s

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prosecution on the conspiracy offense contained in Count 1 of the Western District

Indictment and his motion to dismiss this count is denied.

       10.    Nunez next seeks dismissal of the Western District Indictment pursuant to

Rule 48(b) of the Federal Rules of Criminal Procedure. (Docket No. 792, ¶ 9.) This Court

already denied dismissal on this basis on July 17, 2006. (Docket No. 679.) At that time,

this Court found (1) that the trial delay in this case resulted from Nunez’s psychiatric

examination and prolonged mental incompetency; (2) that such incompetency is an

automatic exclusion of time under the Speedy Trial Act; (3) that, despite its length, the

delay caused no substantial prejudice to Nunez, given that he had been provisionally

sentenced on the Southern District Indictment to a term of life; and (4) that the trial delay

did not violate Nunez’s right to a speedy trial. (Id.) Because no new developments have

occurred to change this Court’s findings, Nunez’s motion for dismissal under Rule 48(b)

is denied.

       11.    As an alternative to dismissal of the Western District Indictment on this basis,

Nunez requests a risk assessment. (Docket No. 802, ¶ 9.) This request is misplaced. As

this Court has previously noted, after Nunez pleaded guilty to Count 1 of the Southern

District Indictment, Judge Casey “assumed responsibility for making determinations with

respect to [Nunez’s] competency and his continued detention under 18 U.S.C. § 4244.”

(Docket No. 679, ¶ 10.) Nunez now seeks an order directing Butner mental health

professionals to evaluate him and file a risk assessment report for a court’s use in

determining whether he may be conditionally released from detention. With continued

deference to Judge Casey’s judgment on these matters, it is not appropriate for this Court

to entertain issues regarding Nunez’s competency evaluations and conditions of release

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from his sentence on the Southern District Indictment. Accordingly, Nunez’s request for

a risk assessment will be denied without prejudice to application being made in the

Southern District of New York.4

        12.      In light of the foregoing, this Court finds that dismissal of the Western District

Indictment is not warranted pursuant to the Double Jeopardy Clause or Rule 48(b) of the

Federal Rules of Criminal Procedure. Accordingly, Nunez’s Motion to Dismiss is denied.



        IT IS HEREBY ORDERED, that Defendant Julio Nunez’s Motion to Dismiss the

Superseding Indictment (Docket No. 792) is DENIED.

        SO ORDERED.



Dated: January 13, 2011
        Buffalo, NY
                                                                            /s/William M. Skretny
                                                                            WILLIAM M. SKRETNY
                                                                                 Chief Judge
                                                                          United States District Court




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           Nunez’s claim that he rem ains “detained on his indictm ent in the W estern District of New York
and confined at Butner” is incorrect. (Docket No. 802, ¶ 4.) Nunez’s continued detention at Butner is due
to his provisional sentence on the Southern District Indictm ent. (Docket No. 573.) Judge Casey’s July 19,
2005 order com m itting Nunez to the Attorney General for a term of life pursuant to 18 U.S.C. § 4244
included the directive that, “if the director of the facility in which Defendant is com m itted determ ines that
Defendant has recovered from his m ental disease, he or she shall so certify to the Court [of the Southern
District of New York] pursuant to § 4244(e) and a final sentence will be im posed.” (Docket No. 573.) In
fact, Dr. Robert G. Lucking, Staff Psychiatrist at Butner, opined in his May 30, 2009 report that Nunez
“cannot be restored to com petency with further treatm ent.” (Docket No. 781.) Nunez thus rem ains
detained at Butner pursuant to Judge Casey’s order, not the indictm ent in this case.

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